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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION



UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                              CASE NO. 2:23-CR-20005-001

JOHNNY DERRELL FREEMAN                                                            DEFENDANT

                                           ORDER

         The Court ADOPTS the report and recommendation (Doc. 20) entered in this case and

accepts Defendant’s plea of guilty to Count 1 of the indictment. The Defendant is hereby adjudged

GUILTY of the offense.

         IT IS SO ORDERED this 9th day of February, 2024.


                                                            /s/P. K. Holmes ΙΙΙ
                                                            P.K. HOLMES III
                                                            U.S. DISTRICT JUDGE
